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      IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                        )
ALBERT VIEIRA,                          )
                                        )
                     Plaintiff,         )
                                        )
          v.                            )       Case No. 1:19-cv-40-PEC
                                        )
UNITED STATES OF AMERICA,               )       Collective Action
                                        )
                     Defendant.         )
_______________________________________ )


                NOTICE OF VOLUNTARY DISMISSAL

     Pursuant to Rule 41(a)(1)(A)(i) of the Rules of the U.S. Court of

Federal Claims, Plaintiff Albert Vieira hereby gives notice that the

above captioned action is voluntarily dismissed, without prejudice.
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                      Respectfully submitted,
                      /s Gregory O’Duden, by /s Paras N. Shah
                      _______________________________________
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January 9, 2019       Of Counsel for Plaintiff Vieira


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                     CERTIFICATE OF SERVICE

     I certify that, on January 9, 2019, I electronically filed the

foregoing document with the Clerk of the Court for the United States

Court of Federal Claims through the CM/ECF system. I further certify

that the foregoing document is being served on all counsel of record via

transmission of Notices of Electronic Filing generated by CM/ECF.

                            /s/ Paras N. Shah
                            ____________________________
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